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 EXHIBIT 20
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                                                    THE RICHMARK COMPANY




                  SEE NATIVE FILE




CONFIDENTIAL                                                  CHOP-0028968
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                                RICHMARK RENTAL INFORMATION

  Suite
  Store
          Tenant
          Northwest Liquor & Wine LLC
SW Corner Binyam Wolde
                                           Lease Date
                                              6/1/2012
                                             6/16/2015
                                                         Confidential
    1     Matthew Haggerty
    2     Seattle Out and Proud              8/14/2015
    2     Phillip Radtke                      8/4/2021
    3     Vortex  Reservations Inc
    3     Jeffrey Williamson                 5/21/2020
    4     Vortex Reservations Inc
    5     Catherine Keir                     9/18/2015
          Charlee Z. Sandall, LMT, Classic
    6     Healing Arts                        6/8/2020
    7     Vortex Reservations Inc
    8     P.J. Sheehy                        10/1/2015
    9     Eric Andrew Katz                   10/1/2015
   10     Que Areste, ND                     8/14/2015
   11     Darcee   Neth                      2/17/2018
   11     Patrick O'Hagan                    4/14/2021
   11     Patrick O'Hagan                    4/14/2021
   12     Shawn D McDonald                   1/18/2018
   13     Vortex Reservations Inc
   14     Vortex Reservations Inc
   15     Sharon Swanson                     10/1/2015
   16     Vortex Reservations Inc
   17     Vortex Reservations Inc
   18     Vortex Reservations Inc            8/14/2015
   19     Jeffery  Leonard                    5/1/2020
   20     Richmark Label
   21     SEMEC                              8/22/2015
   21     SEMEC                              8/22/2015
   22     Caroline Culbertson                10/1/2015
   23     Counterculture Society             8/20/2018
          Karen Lucas Radiant Health
   24     Center
   25     Richmark Label
          Karen Lucas Radiant Health
   26     Center
   27     Patrick O'Hagan                    8/17/2020
   27     Patrick O'Hagan                    8/17/2020
          Karen Lucas Radiant Health
   28     Center
   29     Imperial Court of Seattle          10/1/2015
   29     Patrick O'Hagan                   10/14/2021
          Karen Lucas Radiant Health
   30     Center                             1/10/2015
   31     Maggie Sky                        12/14/2016
   32     Vortex Reservations Inc
  33/34   Alan Lamon                         6/24/2019
   35     GLSEN Washington State             8/26/2015
   36     Phillip Radtke                     11/9/2017



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                              RICHMARK RENTAL INFORMATION

   Suite
    36
    37
           Tenant
           Binyam Wolde
           Iron and Oak LLC
                                   Lease Date
                                      9/1/2021
                                     4/26/2019
                                                 Confidential
    37     Binyam Wolde               7/1/2020
    38     Africa Mama                9/8/2021




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